                    Case 8-21-71691-reg                       Doc 7      Filed 09/29/21              Entered 09/30/21 00:06:08


                                                               United States Bankruptcy Court
                                                                Eastern District of New York
In re:                                                                                                                 Case No. 21-71691-reg
Douglas J Filardo                                                                                                      Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0207-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Sep 27, 2021                                               Form ID: 309I                                                             Total Noticed: 38
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 29, 2021:
Recip ID                   Recipient Name and Address
db                     +   Douglas J Filardo, 27 Montauk Hwy, Westhampton, NY 11977-1211
10009816               +   Amex/Bankruptcy, Po Box 6789, Sioux Falls, SD 57117-6789
10009817               +   Andrea Allani, 396 3rd St, Apt 14, Brooklyn, NY 11215-2834
10009833               +   Dsnb Bloomingdales, Po Box 6789, Sioux Falls, SD 57117-6789
10009835               +   Francine Filardo, 27 Montauk Highway, Westhampton, NY 11977-1211
10009838                   Lincoln Auto Finance, PO Box 55000, Dept. 194101, Detroit, MI 48255-1941
10009837               +   Lincoln Auto Finance, PO Box 62000, Colorado Springs, CO 80962-2000
10009844                   PHH Mortgage Services, PO Box 40724, Lansing, MI 48901-7924
10009845               +   Star Auto Sales of Queens, c/o Milman Labuda Law, Group, PLLC, 3000 Marcus Ave, Ste 3W8, New Hyde Park, NY 11042-1009
10009846               +   Star Auto Sales of Queens, 206-26 Northern Blvd, Bayside, NY 11361-3146
10009848               +   Suntrust Bank, 303 Peachtree Street Northeast, Atlanta, GA 30308-3245

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: weiss@ny-bankruptcy.com
                                                                                        Sep 27 2021 18:05:00      Ronald D Weiss, 734 Walt Whitman Road, Suite
                                                                                                                  203, Melville, NY 11747
tr                     + Email/Text: Macconoticing@maccolaw.com
                                                                                        Sep 27 2021 18:05:00      Michael J. Macco, 2950 Express Drive South,
                                                                                                                  Suite 109, Islandia, NY 11749-1412
smg                    + Email/Text: ustpregion02.li.ecf@usdoj.gov
                                                                                        Sep 27 2021 18:05:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, Long Island Federal Courthouse, 560
                                                                                                                  Federal Plaza - Room 560, Central Islip, NY
                                                                                                                  11722-4456
10009815               + EDI: AMEREXPR.COM
                                                                                        Sep 27 2021 22:13:00      Amex/Bankruptcy, Correspondence/Bankruptcy,
                                                                                                                  Po Box 981540, El Paso, TX 79998-1540
10009818               + EDI: TSYS2.COM
                                                                                        Sep 27 2021 22:13:00      Barclays Bank Delaware, Attn: Bankruptcy, Po
                                                                                                                  Box 8801, Wilmington, DE 19899-8801
10009819               + EDI: TSYS2.COM
                                                                                        Sep 27 2021 22:13:00      Barclays Bank Delaware, P.o. Box 8803,
                                                                                                                  Wilmington, DE 19899-8803
10009820               + EDI: CITICORP.COM
                                                                                        Sep 27 2021 22:13:00      Cbna, Citicorp Credit Srvs/Centralized BK Dept,
                                                                                                                  Po Box 790034, St. Louis, MO 63179-0034
10009821               + EDI: CITICORP.COM
                                                                                        Sep 27 2021 22:13:00      Cbna, Po Box 6181, Sioux Falls, SD 57117-6181
10009825               + EDI: CITICORP.COM
                                                                                        Sep 27 2021 22:13:00      Citibank, Po Box 6217, Sioux Falls, SD
                                                                                                                  57117-6217
10009824               + EDI: CITICORP.COM
                                                                                        Sep 27 2021 22:13:00      Citibank, Citicorp Credit Srvs/Centralized Bk dept,
                                                                                                                  Po Box 790034, St Louis, MO 63179-0034
10009827               + EDI: CITICORP.COM
                                                                                        Sep 27 2021 22:13:00      Citibank/The Home Depot, Po Box 6497, Sioux
                                                                                                                  Falls, SD 57117-6497
10009826               + EDI: CITICORP.COM
                                                                                        Sep 27 2021 22:13:00      Citibank/The Home Depot, Citicorp Credit
                                                                                                                  Srvs/Centralized Bk dept, Po Box 790034, St
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                                                                                                            Louis, MO 63179-0034
10009828              + EDI: WFNNB.COM
                                                                                   Sep 27 2021 22:13:00     Comenity Bank/Wayfair, Attn: Bankruptcy, Po
                                                                                                            Box 182125, Columbus, OH 43218-2125
10009829              + EDI: WFNNB.COM
                                                                                   Sep 27 2021 22:13:00     Comenity Bank/Wayfair, Po Box 182789,
                                                                                                            Columbus, OH 43218-2789
10009831                 EDI: DISCOVER.COM
                                                                                   Sep 27 2021 22:13:00     Discover Financial, Pob 15316, Wilmington, DE
                                                                                                            19850
10009832              + EDI: CITICORP.COM
                                                                                   Sep 27 2021 22:13:00     Dsnb Bloomingdales, Attn: Recovery 'Bk', Po Box
                                                                                                            9111, Mason, OH 45040
10009830              + EDI: DISCOVER.COM
                                                                                   Sep 27 2021 22:13:00     Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                            3025, New Albany, OH 43054-3025
10009834              + EDI: FORD.COM
                                                                                   Sep 27 2021 22:13:00     Ford Motor Company, P.O. Box 31111, Tampa,
                                                                                                            FL 33631-3111
10009836                 EDI: IRS.COM
                                                                                   Sep 27 2021 22:13:00     Internal Revenue Service, P.O. Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
10009822                 EDI: JPMORGANCHASE
                                                                                   Sep 27 2021 22:13:00     Chase Card Services, Attn: Bankruptcy, Po Box
                                                                                                            15298, Wilmington, DE 19850
10009823                 EDI: JPMORGANCHASE
                                                                                   Sep 27 2021 22:13:00     Chase Card Services, Po Box 15369, Wilmington,
                                                                                                            DE 19850
10009840              + EDI: FORD.COM
                                                                                   Sep 27 2021 22:13:00     Lincoln Automotive Fin, Pob 542000, Omaha, NE
                                                                                                            68154-8000
10009839              + EDI: FORD.COM
                                                                                   Sep 27 2021 22:13:00     Lincoln Automotive Fin, Attn: Bankrutcy, Po Box
                                                                                                            54200, Omaha, NE 68154-8000
10009841              + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                   Sep 27 2021 18:05:00     New York State DTF, P O Box 5300, Albany, NY
                                                                                                            12205-0300
10009843              + Email/Text: bnc@nordstrom.com
                                                                                   Sep 27 2021 18:05:36     Nordstrom FSB, 13531 E. Caley Ave, Englewood,
                                                                                                            CO 80111-6505
10009842              + Email/Text: bnc@nordstrom.com
                                                                                   Sep 27 2021 18:05:41     Nordstrom FSB, Attn: Bankruptcy, Po Box 6555,
                                                                                                            Englewood, CO 80155-6555
10009847              + EDI: STF1.COM
                                                                                   Sep 27 2021 22:13:00     Suntrust Bank, Attn: Bankruptcy, Mc
                                                                                                            Va-Rvw_6290 Pob 85092, Richmond, VA
                                                                                                            23286-0001

TOTAL: 27


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 29, 2021                                        Signature:           /s/Joseph Speetjens
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                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 27, 2021 at the address(es) listed
below:
Name                            Email Address
Michael J. Macco
                                ecf@maccolaw.com jzarrilli@maccolaw.com;maccocr82572@notify.bestcase.com

Ronald D Weiss
                                on behalf of Debtor Douglas J Filardo weiss@ny-bankruptcy.com
                                bankruptcyecf@ny-bankruptcy.com;R54991@notify.bestcase.com;michaelf@ny-bankruptcy.com;ryan@ny-bankruptcy.com

United States Trustee
                                USTPRegion02.LI.ECF@usdoj.gov


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 Information to identify the case:

                         Douglas J Filardo                                                        Social Security number or ITIN:     xxx−xx−6084
 Debtor 1:
                                                                                                  EIN: _ _−_ _ _ _ _ _ _
                         First Name    Middle Name      Last Name
 Debtor 2:                                                                                        Social Security number or ITIN: _ _ _ _
 (Spouse, if filing)     First Name    Middle Name      Last Name                                 EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:      Eastern District of New York                                 Date case filed for chapter:                13       9/27/21

 Case number:          8−21−71691−reg

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                      Revised: 12/17

For the debtor(s) listed above, a case has been filed under Chapter 13 of the Bankruptcy Code. An order for relief has been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors
and deadlines. Read both pages carefully.
To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court. Do not include more than
the last four digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with
the court.
                                           About Debtor 1:                                           About Debtor 2:
 1. Debtor's Full Name                     Douglas J Filardo
      All other names used in the last 8
 2.
      years
                                                    27 Montauk Hwy
 3. Address
                                                    Westhampton, NY 11977
                                                    Ronald D Weiss                                                       Contact Phone (631) 271−3737
      Debtor's Attorney                             734 Walt Whitman Road                                                Email: weiss@ny−bankruptcy.com
 4.
      Name and address                              Suite 203
                                                    Melville, NY 11747
 5. Bankruptcy Trustee                              Michael J. Macco                                                     Contact Phone (631) 549−7900
    Name and address                                2950 Express Drive South                                             Email: ecf@maccolaw.com
                                                    Suite 109
                                                    Islandia, NY 11749
 6. Meeting of Creditors                             October 25, 2021 at 10:00 AM                                       Location:
                                                                                                                        DUE TO COVID−19, THE MEETING OF
                                                                                                                        CREDITORS WILL BE HELD
                                                                                                                        TELEPHONICALLY. PLEASE REFER TO THE
                                                                                                                        CASE DOCKET OR CONTACT THE TRUSTEE
                                                                                                                        LISTED IN THIS NOTICE FOR
                                                                                                                        INSTRUCTIONS.
 7. Hearing on Confirmation of Plan                 The debtor has or will file a plan. The hearing on confirmation will be held:
                                                    Date: 11/18/21, Time: 09:30 AM, Location: United States Bankruptcy Court, Long Island Federal
                                                    Courthouse, 290 Federal Plaza − Room 860, Central Islip, NY 11722
 8. Deadlines                                        Deadline to Object to Discharge or to Challenge                              Filing Deadline: 12/27/21
    The Bankruptcy Clerk's Office must               Dischargeability of Certain Debts:
    receive these documents and any                   You must file:
    required filing fee by the following             • a motion if you assert that the debtors are
    deadlines.                                          not entitled to receive a discharge under
                                                        U.S.C. § 1328(f) or
                                                     • a complaint if you want to have a particular
                                                        debt excepted from discharge under
                                                        11 U.S.C. § 523(a)(2) or (4).
                                                     Deadline for holder(s) of a claim secured by a security interest in          Filing Deadline: 12/06/2021
                                                     the debtor(s)' principal residence (Rule 3002(c)(7)(A)):
                                                     Deadline for all creditors to file a Proof of Claim (except                  Filing Deadline: 12/06/2021
                                                     governmental units and holder(s) of a claim that is secured by a
                                                     security interest in the debtor(s)' principal residence):
                                                     Deadline for governmental units to file a Proof of Claim (except as Filing Deadline: 3/26/22
                                                     otherwise provided in Fed. R. Bankr. P. 3002(c)(1)):
                                                     Deadline to Object to Exemptions:                                            Filing Deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt. If                                conclusion of the
                                                     you believe that the law does not authorize an exemption                                      meeting of creditors
                                                     claimed, you may file an objection.

 9. Bankruptcy Clerk's Office                       Address of the Bankruptcy Clerk's Office:                             Hours Open:
    Documents in this case may be                   290 Federal Plaza                                                     Monday − Friday 9:00 AM − 4:30 PM
    filed at this address.                          Central Islip, NY 11722
    You may inspect all records filed in                                                                                  Contact Phone (631) 712−6200
    this case at this office or online at           Clerk of the Bankruptcy Court:
     pacer.uscourts.gov.                            Robert A. Gavin, Jr.                                                  Date: 9/27/21
                                                                                                                                       For more information, see page 2
Official Form 309I                                             Notice of Chapter 13 Bankruptcy Case                                                       page 1
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Debtor Douglas J Filardo                                                                                                     Case number 8−21−71691−reg
10. Claims                              A Proof of Claim is a signed statement describing a creditor's claim. A Proof of Claim form "Official Form 410"
                                        may be obtained at www.uscourts.gov or any Bankruptcy Clerk's Office. If you do not file a Proof of Claim by
                                        the deadline, you might not be paid on your claim from other assets in the bankruptcy case. To be paid, you
                                        must file a proof of claim even if your claim is listed in the schedules that the debtor filed. Secured creditors
                                        retain rights in their collateral regardless of whether they file a Proof of Claim. Filing a Proof of Claim submits
                                        the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a
                                        secured creditor who files a Proof of Claim may surrender important nonmonetary rights, including the right to a
                                        jury trial.

                                        Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the front of
                                        this notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor
                                        may file a motion requesting the court to extend the deadline.

                                        Do not include this notice with any filing you make with the court.

11. Legal Advice                         The staff of the Bankruptcy Clerk's Office cannot give legal advice. To protect your rights, consult an attorney.

12. Creditors May Not Take Certain       The filing of the case imposed an automatic stay against most collection activities. This means that creditors
    Actions                              generally may not take action to collect debts from the debtors or the debtors' property. For example, while the
                                         stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try
                                         to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise.
                                         Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under
                                         certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court
                                         to extend or impose a stay.

13. Meeting of Creditors                 A meeting of creditors is scheduled for the date, time and location listed on the front side. Debtors must attend
                                         the meeting to be questioned under oath by the trustee and by creditors. In a joint case, both spouses must
                                         attend. Creditors may attend, but are not required to do so. The meeting may be continued and concluded at a
                                         later date specified in a notice filed with the court.

14. Filing a Chapter 13 Bankruptcy       A bankruptcy case under Chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in
    Case                                 this court by the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 13 allows
                                         an individual with regular income and debts below a specified amount to adjust debts according to a plan. A
                                         plan is not effective unless the court confirms it. You may object to confirmation of the plan and appear at the
                                         confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if the confirmation
                                         hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The debtor will
                                         remain in possession of the property and may continue to operate the business, if any, unless the court orders
                                         otherwise.

15. Creditors with a Foreign Address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
                                     extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                     any questions about your rights in this case.

16. Exempt Property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                        distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                        exempt. You may inspect that list at the Bankruptcy Clerk's Office or online at pacer.uscourts.gov. If you
                                        believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                        deadline to object to exemption in line 8 on the front side.

17. Discharge of Debts                  Confirmation of a Chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                        However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                        are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                        except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                        523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                        If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                        you must file a motion objecting to Debtor's Discharge. The Bankruptcy Clerk's Office must receive the
                                        objection by the deadline to object to exemptions in line 8.

18. Option to Receive Notices            1) The Electronic Bankruptcy Noticing (EBN) Program is open to all parties. You can register for EBN at the
    Served by the Clerk by Email         BNC website https://bankruptcynotices.uscourts.gov/, or
    Instead of by U.S. Mail              2) Debtors can register for DeBN by filing local form "Debtor's Electronic Bankruptcy Notice Request" with the
                                         Clerk of Court. Both options are FREE and allow the Clerk to quickly send you court−issued notices and
                                         orders by email.

19. Undeliverable Notices                Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the
                                         parties correct address, resend the returned notice, and notify this office of the parties change of address.
                                         Failure to provide all parties with a copy of the notice may adversely affect the debtor as provided by the
                                         Bankruptcy Court.

20. Form 121 Statement of Social         The debtor or debtor's attorney is required to bring a paper copy of the petition with full social security number
    Security #                           displayed to the first meeting of creditors.

21. Personal Financial Management        In order to receive a discharge, the debtor must complete a Personal Financial Management Course and must
    Course                               file a Certification About a Financial Management Course (Offical Form 423) no later than the last payment
                                         under the plan or upon the entry of a motion for a hardship discharge. If the Certification About a Financial
                                         Management Course is not filed within the allotted time, a discharge will not be issued and the case will be
                                         closed.

22. Hearing on Confirmation of the       The hearing on confirmation of the plan may be adjourned at the meeting of creditors without further notice.
    Plan; Dismissal of Case              The Court, on motion heard at the confirmation hearing, may dismiss the case or convert it to one under
                                         Chapter 7 if the debtor fails to timely file a plan or other required papers, fails to make a required
                                         preconfirmation payment, or fails to appear at the meeting of creditors or confirmation hearing. The Court, on
                                         motion heard at the confirmation hearing, may also dismiss the case or convert it to one under
                                         Chapter 7 if confirmation of the plan is denied.



Official Form 309I                                 Notice of Chapter 13 Bankruptcy Case                                                     page 2
